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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                                        Chapter 11

 Optio Rx, LLC, et al.1                                                        Case No. 24-11188 (TMH)

          Debtors.                                                             (Joint Administered)


                   SCHEDULES OF ASSETS AND LIABILITIES FOR
              HEALTHY CHOICE COMPOUNDING LLC (CASE NO. 24-11208)




___________________________________________
1 The Debtors in these Chapter 11 cases, along with the last four digits of their respective tax identification numbers,
are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237); (4)
Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205); (7) Pet
Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical, LLC (3260); (10) H&H Pharmacy
LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons Holdings LLC
(5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro Pharmacy, LLC (6299);
(17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compouding LLC (1745); (19) Oakdell
Compounding Pharmacy LLC (7537); (20) The Pet Apothecary, LLC (6074); (21) Crestview Pharmacy, LLC (8091);
(22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24) Firstcare Pharmacy, LLC (1203); (25)
Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645); and (27) HCP Pharmacy LLC (5216). The
address of the Debtors’ corporate headquarters is 3701 Commercial Avenue, Suite 14, Northbrook, Illinois 60062.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Optio Rx, LLC, et al.,                                          Case No. 24-11188 (TMH)

                     Debtors.1                                      (Jointly Administered)



        GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
         AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                  INTRODUCTION

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the
“Schedules and Statements”) filed by OptioRx, LLC and its affiliated debtors (collectively, the
“Debtors” or the “Company”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), were prepared in accordance with section 521 of title 11 of the United
States Code (the “Bankruptcy Code”), and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”) by management of the Debtors, with the assistance of the
Debtors’ professional advisors, and are unaudited.

       The Schedules and Statements have been signed by Leo LaFranco, Chief Financial Officer
(“CFO”) of the Company. Mr. LaFranco has not (nor could have) personally verified the accuracy
of each statement and representation, including, for example, statements and representations
concerning amounts owed to creditors, classification of such amounts, and their addresses. In
addition, Mr. LaFranco has not (nor could have) personally verified the completeness of the
Schedules and Statements, nor the accuracy of any information contained therein. In reviewing
and signing the Schedules and Statements, Mr. LaFranco necessarily relied upon various personnel
of the Debtors and the Debtors’ professional advisors and their efforts, statements, and
representations in connection therewith. Although management has made reasonable efforts to

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      (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
      (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical, LLC (3260); (10) H&H
      Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
      Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
      Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
      LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary, LLC (6074); (21)
      Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
      Firstcare Pharmacy, LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
      and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
      Avenue, Suite 14, Northbrook, Illinois 60062.
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ensure that the Schedules and Statements are accurate and complete based upon information that
was available to them at the time of preparation, subsequent information or discovery thereof may
result in material changes to the Schedules and Statements, and inadvertent errors or omissions
may exist.

       These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes should be referred to and reviewed in connection with any review of the
Schedules and Statements. The Global Notes are in addition to any specific notes contained in any
Debtor’s Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit,
or continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of the Debtors.

       The Company was formed in 2018. By 2020, the Company had acquired nineteen (19)
pharmacies, some of which were purchased as part of multi-pharmacy groups. The accounting
functions associated with these acquisitions have not been integrated and remain extremely
complex. To support the domestic accounting functions, the Company has relied heavily on an
outside accounting group based in India.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that were available at the time of such preparation. The Schedules
and Statements reflect the Debtors’ reasonably best efforts to report their assets and liabilities,
based on their current books and records. The Debtors cannot be certain, however, that their books
and records and/or these Schedules and Statements are valid, complete, accurate, or reliable.
Among other things:

              1.        The Company’s annual financials have historically been audited, albeit reports for
                        fiscal year 2022 and 2023 were issued with Going Concern language and thus not
                        issued with clean audit opinions.

              2.        Many of the procedures required to complete the annual audit report are completed
                        during the audit process but are not maintained throughout the year on either a
                        monthly or quarterly basis.

              3.        The Company’s accounting staff has been significantly reduced over the last year
                        (from 16 full time individuals down to its current level of 3 full time individuals
                        with some technical support in India).

              4.        As result of the streamlined accounting staff, controls and oversight into the
                        accuracy of accounting information, and safeguarding of assets, have been
                        compromised.



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                        GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

1.            GENERAL RESERVATION OF RIGHTS. Although the Debtors’ management has made every
              reasonable effort to ensure that the Schedules and Statements are as accurate and complete
              as possible under the circumstances based on information that was available to them at the
              time of preparation, subsequent information or discovery may result in material changes to
              the Schedules and Statements, and inadvertent errors or omissions may have occurred,
              some of which may be material. Because the Schedules and Statements contain unaudited
              information, which remains subject to further review, verification, and potential
              adjustment, there can be no assurance that the Schedules and Statements are complete. The
              Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
              and all respects, as may be necessary or appropriate, including the right to dispute or
              otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
              as to amount, liability, or classification, or to otherwise subsequently designate any claim
              (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
              in the Schedules and Statements shall constitute an admission of any claims or a waiver of
              any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
              substantive consolidation, recharacterization, equitable subordination, and/or causes of
              action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
              non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
              contained elsewhere in the Global Notes does not limit in any respect the general
              reservation of rights contained in this paragraph.

2.            DESCRIPTION OF CASE AND “AS OF” INFORMATION DATE. On June 7, 2024 (the “Petition
              Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
              Code in the Bankruptcy Court. The Debtors continue to operate their business and manage
              their assets as a debtors-in-possession pursuant to sections 1107(a) and 1108 of the
              Bankruptcy Code. No request for the appointment of a trustee or examiner has been made
              in these chapter 11 cases. Unless otherwise stated herein, assets and liabilities are reported
              as of May 31, 2024.

3.            BASIS OF PRESENTATION. The Schedules and Statements purport to reflect the assets and
              liabilities of the Debtors. The Debtors reserve all rights relating to the legal ownership of
              assets and liabilities and nothing in the Schedules or Statements shall constitute a waiver
              or relinquishment of such rights. Information contained in the Schedules and Statements
              has been derived from the Debtors’ books and records. The Schedules and Statements do
              not purport to represent financial statements prepared in accordance with Generally
              Accepted Accounting Principles nor are they intended to be fully reconcilable to audited
              financial statements.

4.            TOTALS. All totals that are included in the Schedules and Statements represent totals of all
              known amounts included in the Debtors’ books and records. To the extent there are
              unknown or undetermined amounts, the actual totals may be different than the listed total,
              and the difference may be material. In addition, the amounts shown for total liabilities
              exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or



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              “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
              the Schedules and Statements.

5.            EXCLUDED ASSETS AND LIABILITIES. The Debtors have excluded certain categories of
              assets and liabilities from the Schedules and Statements, including but not limited to certain
              lease assets and related lease liabilities and certain accrued liabilities. The Debtors have
              also excluded potential claims arising on account of the potential rejection of executory
              contracts and unexpired leases, to the extent such claims exist. Certain immaterial assets
              and liabilities that are not reported or tracked centrally may have been excluded.

6.            AMENDMENTS AND SUPPLEMENTS; ALL RIGHTS RESERVED. Reasonable efforts have
              been made to prepare and file complete and accurate Schedules and Statements; inadvertent
              errors or omissions, however, may exist. The Debtors reserve all rights, but are not
              required, to amend and/or supplement the Schedules and Statements from time to time as
              is necessary and appropriate.

7.            REFERENCES. References to applicable loan agreements and related documents are
              necessary for a complete description of the collateral and the nature, extent, and priority of
              liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
              deemed a modification or interpretation of the terms of such agreements.

8.            BOOK VALUE. Unless otherwise indicated, the Debtors’ assets and liabilities are shown on
              the basis of its net book values as of May 31, 2024. Thus, unless otherwise noted, the
              Schedules and Statements reflect the carrying value of the assets and liabilities as recorded
              in the Debtors’ books and/or from supporting documentation. Net book values may vary,
              sometimes materially, from market values. The Debtors do not intend to amend these
              Schedules and Statements to reflect market values.

9.            PAID CLAIMS. The Bankruptcy Court authorized the Debtors to pay certain outstanding
              prepetition Claims—including, but not limited to, payments to employees, taxes, critical
              vendors, and shippers and warehousemen—pursuant to various “first day” orders entered
              by the Bankruptcy Court. Accordingly, certain outstanding liabilities as of the Petition
              Date may have been reduced by post-petition payments made on account of prepetition
              liabilities. Where the Schedules list creditors and set forth the Debtors’ scheduled amount
              of such Claims, such scheduled amounts reflect amounts owed as of the Petition Date, after
              incorporating invoices received post-petition for prepetition services. In addition, to the
              extent the Debtors later pay any of the Claims listed in the Schedules and Statements
              pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights to
              amend or supplement the Schedules and Statements or take other action, such as filing
              Claim objections, as is necessary and appropriate to avoid overpayment or duplicate
              payments for liabilities.

10.           RECHARACTERIZATION. Notwithstanding that the Debtors have made reasonable efforts
              to correctly characterize, classify, categorize, or designate certain Claims, assets, executory
              contracts, unexpired leases, and other items reported in the Schedules and Statements, the
              Debtors nonetheless may have improperly characterized, classified, categorized, or


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              designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
              recategorize, or re-designate items reported in the Schedules and Statements at a later time
              as they determine to be necessary and appropriate prior to any plan or disclosure statement
              being filed.

11.           CLAIMS OF THIRD-PARTY ENTITIES. Although the Debtors have made reasonable efforts
              to classify properly each Claim listed in the Schedules as being either disputed or
              undisputed, liquidated or unliquidated, and/or contingent or non-contingent, the Debtors
              have not been able to fully reconcile all payments made to certain third-party entities on
              account of the Debtors’ obligations to both such entity and its affiliates. Therefore, to the
              extent that the Debtors have classified its estimate of Claims of a creditor as disputed, for
              example, all Claims of such creditor’s affiliates listed in the Schedules and Statements shall
              similarly be considered disputed, whether or not they are individually designated as such.

12.           LIABILITIES. The Debtors allocate liabilities between the prepetition and post-petition
              periods based on the information and research conducted in connection with the
              preparation of the Schedules and Statements. As additional information becomes available,
              and further research is conducted, particularly with respect to the Debtors’ payable
              accounts, the allocation of liabilities between the prepetition and post-petition periods may
              change. The Debtors reserve all rights to- amend the Schedules and Statements as they
              deem appropriate.

              The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
              under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
              rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
              the Bankruptcy Code or the characterization of the structure of any such transaction or any
              document or instrument related to any creditor’s Claim.

13.           GUARANTEES AND OTHER SECONDARY LIABILITY CLAIMS. Where guarantees have been
              identified, they have been included in the relevant liability Schedule for the Debtors
              affected by such guarantee. The Debtors have also listed such guarantees on the applicable
              Schedule H. It is possible that certain guarantees embedded in the Debtors’ executory
              contracts, unexpired leases, secured financings, debt instruments, and other such
              agreements may have been inadvertently omitted. The Debtors reserve all rights to amend
              the Schedules to the extent that additional guarantees are identified, or such guarantees are
              discovered to have expired or be unenforceable.

14.           INTERCOMPANY CLAIMS. The intercompany receivable/payable balances between the
              Debtors are set forth on Schedule A/B or Schedule E/F, as applicable, and receivables are
              classified as current assets. Intercompany transfers between Debtors are not captured on
              Statement 2 or 3. The listing in the Schedules or Statement (including, without limitation,
              Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor and
              another Debtor is a statement of what appears in the Debtors’ books and records and does
              not reflect any admission or conclusion of the Debtors regarding whether such amount
              would be allowed as a Claim or how such obligations may be classified and/or characterized
              in a plan of reorganization or by the Bankruptcy Court. The Debtors reserve all rights with
              respect to such obligations.

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15.           INTELLECTUAL PROPERTY RIGHTS. Exclusion of certain intellectual property shall not be
              construed to be an admission that such intellectual property rights have been abandoned,
              have been terminated or otherwise expired by their terms, or have been assigned or
              otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
              inclusion of certain intellectual property shall not be construed to be an admission that such
              intellectual property rights have not been abandoned, have not been terminated or otherwise
              expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
              acquisition, or other transaction. The Debtors have made significant efforts to attribute
              intellectual property to the rightful Debtor owner. Accordingly, the Debtors reserve all
              rights with respect to the legal status of any and all such intellectual property rights.

16.           EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The Debtors have not estimated value
              of executory contracts or unexpired leases as assets in the Schedules and Statements.
              Instead, the Debtors’ executory contracts and unexpired leases have been set forth in
              Schedule G. In addition, while the Debtors have made diligent attempts to properly identify
              all executory contracts and unexpired leases, inadvertent errors, omissions, or over-
              inclusion may have occurred.

17.           CLAIMS DESCRIPTION. Schedules D and E/F permit the Debtors to designate a Claim as
              “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
              given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
              does not constitute an admission by the Debtors that such amount is not “disputed,”
              “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
              reserve all rights to dispute any Claim reflected on their respective Schedules and
              Statements on any grounds, including, without limitation, liability or classification, or to
              otherwise subsequently designate such Claims as “disputed,” “contingent,” or
              “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
              the grounds that, among other things, the Claim has already been satisfied.

18.           CAUSES OF ACTION. Despite their reasonable efforts, the Debtors may not have listed all
              causes of action or potential causes of action against third parties as assets in the Schedules
              and Statements, including, without limitation, avoidance actions arising under chapter 5 of
              the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover
              assets. The Debtors reserve all of their rights for any claims, causes of action, or avoidance
              actions they may have, and neither these Global Notes nor the Schedules and Statements
              shall be deemed a waiver of any such claims, causes of actions, or avoidance actions or in
              any way prejudice or impair the assertion of such claims.

19.           UNDETERMINED AMOUNTS. Claim amounts that could not readily be quantified by the
              Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
              amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
              materiality of such amount.

20.           LIENS. Property and equipment listed in the Schedules and Statements are presented without
              consideration of any liens that may attach (or have attached) to such property or equipment.


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21.           EMPLOYEE ADDRESSES. Current employee, former employee, and director addresses have
              been removed from entries listed throughout the Schedules and Statements, where
              applicable.

22.           ESTIMATES. To prepare and file the Schedules as close to the Petition Date as possible,
              management was required to make certain estimates and assumptions that affected the
              reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
              reported amounts of assets and liability to reflect changes in those estimates or assumptions.

23.           CREDITS AND ADJUSTMENTS. The claims of individual creditors for, among other things,
              goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
              and records and may not reflect credits, allowances, or other adjustments due from such
              creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
              allowances, and other adjustments, including the right to assert claims objections and/or
              setoffs with respect to the same.

24.           SETOFFS. The Debtors incur certain setoffs and other similar rights during the ordinary
              course of business. Offsets in the ordinary course can result from various items,
              including, without limitation, intercompany transactions, pricing discrepancies, returns,
              warranties, filebacks, negotiations and/or disputes between the Debtors and their vendors
              and customers. These offsets and other similar rights are consistent with the ordinary
              course of business in the Debtors’ industry and are not tracked separately. Therefore,
              although such offsets and other similar rights may have been accounted for when certain
              amounts were included in the Schedules, offsets are not independently accounted for, and
              as such, are excluded from the Schedules. Setoffs include DIR fees by which Managed
              Care payors adjust prior payments at the time of subsequent payments, these fees are not
              known until the time of adjudication and are common practice for Medicare payments
              and other managed care payors.

25.           GLOBAL NOTES CONTROL. In the event that the Schedules and Statements differ from
              these Global Notes, the Global Notes shall control.

26.           CONFIDENTIALITY. There may be instances in the Schedules and Statements where the
              Debtors have deemed it necessary and appropriate to redact from the public record
              information such as names, addresses, or amounts. Typically, the Debtors have used this
              approach because of an agreement between the Debtors and a third party, concerns of
              confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
              of, personally identifiable information.

                        SPECIFIC DISCLOSURES APPLICABLE TO SCHEDULES

27.           CLASSIFICATIONS. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F
              as “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
              “executory” or “unexpired,” does not in each case constitute an admission by the Debtors
              of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
              reclassify such Claim or contract.

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28.           SCHEDULE A/B. Except as otherwise noted, the amounts listed on Schedule A/B represent
              the value of each Debtor’s assets as reflected in the Debtor’s books and records (net of
              depreciation or amortization where applicable) as of May 31, 2024. The Debtors have not
              obtained independent valuation of these assets. The actual value of the assets listed may
              differ significantly from the amounts reflected in each the Schedules and Statements.

29.           SCHEDULE A/B 2. The retail pharmacies maintain cash in their registers. Daily reporting
              of balances are not maintained and the precise amounts of cash in the register is unknown
              at Petition Date.

30.           SCHEDULE A/B 3. Bank account balances were obtained from bank detail as of the end of
              business on Petition Date.

31.           SCHEDULE A/B 11. Accounts Receivable — Balances (including provisions for
              uncollectible accounts) are maintained in the general ledger system in the aggregate and
              rolled forward based on receipt and sales data. An Accounts Receivable aging is maintained
              by the third-party accounting team located in India, although such aging has not historically
              been relied upon because of accuracy issues. Due to the lack of an aging report,, the entire
              net Account Receivable balance is scheduled in the less than 90-day category, although a
              portion of that is older than ninety (90) days. This amount is reported as of May 31, 2024
              and does not include Intercompany balances.

32.           SCHEDULE A/B 15. Equity interests in subsidiaries and affiliates arise from common stock
              ownership. For purposes of these Schedules, the value of the Debtors’ interests is
              undetermined. The book values of certain assets may materially differ from their fair
              market values and/or the liquidation of the assets prepared in connection with the
              Disclosure Statement.

33.           SCHEDULE A/B 21-24. An outside inventory firm typically completes physical counts at a
              select group of retail pharmacy locations on a quarterly basis. Most of the retail pharmacy
              locations had physical inventory counts completed either in (i) December 2023 or (ii)
              March 2024. There are a handful of compounding pharmacy locations with typically
              smaller inventory levels, whereby physical inventory counts have not been completed in
              the last two years. As a result of the aforementioned weaknesses in the account reporting
              function, values from the most recent independent inventory counts, where available, were
              used in Schedule 21-24. To the extent independent physical count values were not
              available, balances were derived from the Company’s perpetual inventory system..

34.           SCHEDULE A/B 25. Balances reflect product purchases for twenty (20) days prior to the
              Petition Date.

35.           SCHEDULE A/B 39/40. Office Furniture and Fixtures were combined in the balances
              reflected in Schedule A/B 39 as of May 31, 2024.




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36.           SCHEDULE A/B 60-64. Intellectual property is listed in Schedule A/B 60-64 as an
              undetermined amount on account of the fact that the fair market value of such ownership
              is dependent on numerous variables and factors and may differ significantly from its net
              book value. Nothing herein or in the Schedules and Statements shall be construed as an
              admission or acknowledgment by the Debtors that any particular intellectual property is
              not transferable either pursuant to its terms or pursuant to provisions of the Bankruptcy
              Code or has no market value, and the Debtors reserve all rights with respect to any such
              issues.

37.           SCHEDULE A/B 72. Interests in Net Operating Losses (“NOLs”). Certain of the Debtors
              may have the ability to take advantage of NOLs at the State level, which amounts may be
              accumulated for more than one tax year. For combined or consolidated returns, the value
              of NOLs is reported at the parent level (not a Debtor). The Debtors may have the ability to
              claim NOLs for subsequent years, but no amounts have been estimated.

38.           SCHEDULE A/B 74/75. The Debtors’ failure to list any contingent and/or unliquidated
              claim held by the Debtors in response to this question shall not constitute a waiver, release,
              relinquishment, or forfeiture of such claim. In the ordinary course of its business, the
              Debtors may have accrued, or may subsequently accrue, certain rights to counterclaims,
              setoffs, refunds or potential warranty Claims against its suppliers. Additionally, the
              Debtors may be a party to pending litigation in which the Debtors have asserted, or may
              assert, Claims as a plaintiff or counterclaims as a defendant. Because such Claims are
              unknown to the Debtors and not quantifiable as of the Petition Date, they are not listed on
              Schedule A/B 74/75.

39.           SCHEDULE A/B 73. Interests in Insurance Policies or Annuities. A list of the Debtors’
              insurance policies and related information is available in the Debtors’ Motion for Entry of
              Interim and Final Orders Authorizing Debtors to (I) Maintain Existing Insurance Policies
              and Pay All Insurance Obligations Arising Thereunder, and (II) Renew, Revise, Extend,
              Supplement, Change, or Enter into New Insurance Policies [Docket No. 12]. The Debtors
              believe that there is little or no cash value to the vast majority of such insurance policies.
              Accordingly, such policies are not listed on Schedule A/B, Part 11. All current insurance
              policies are listed in response to Schedule A/B 73.

40.           SCHEDULE A/B 77. Details of intercompany receivable balances between the Debtors are
              set forth on Schedule A/B 77 and receivables are classified as current assets. The detail in
              Schedule A/B 77 by the Debtors of any obligation between a Debtor and another Debtor is
              a statement of what appears in the Debtors’ books and records and does not reflect any
              admission or conclusion of the Debtors regarding whether such amount would be allowed
              as a Claim or how such obligations may be classified and/or characterized in a plan of
              reorganization or by the Bankruptcy Court. The Debtors reserve all rights with respect to
              such obligations. The detail for the corresponding intercompany payable balances is
              reflected in Schedule E/F.

41.           SCHEDULE D — CREDITORS HOLDING SECURED CLAIMS. The Claims listed on Schedule
              D arose or were incurred on various dates; a determination of the date upon which each

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              Claim arose or was incurred would be unduly burdensome and cost prohibitive.
              Accordingly, not all such dates are included for each Claim. All Claims listed on Schedule
              D, however, appear to have arisen or have been incurred before June 7, 2024.

              Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to
              dispute or challenge the validity, perfection or immunity from avoidance of any lien
              purported to be granted or perfected in any specific asset for the benefit of a secured
              creditor listed on a Debtors’ Schedule D. Moreover, although the Debtors may have
              scheduled Claims of various creditors as secured Claims, the Debtors reserve all rights to
              dispute or challenge the secured nature of any such creditor’s Claim or the characterization
              of the structure of any such transaction or any document or instrument (including without
              limitation, any intercompany agreement) related to such creditor’s Claim. To that end, the
              Debtors take no position as to the extent or priority of any particular creditor’s lien in the
              Schedules and Statements.

              The descriptions provided in Schedule D are intended only to be a summary. Reference to
              the applicable loan documents is necessary for a complete description of the collateral and
              the nature, extent and priority of any liens. Nothing in these Notes or the Schedules and
              Statements shall be deemed a modification or interpretation of the terms of such
              agreements.

              Secured Vendors are included herein for the Debtor with the largest outstanding balance
              as of Petition Date. The remaining Debtors that have pledged security to a specific vendor
              are included as Co-Debtors on Schedule H. Except as otherwise agreed pursuant to a
              stipulation or order entered by the Bankruptcy Court, the Debtors reserve their rights to
              dispute or challenge the validity, perfection, or immunity from avoidance of any lien
              purported to be granted or perfected in any specific asset of a secured creditor listed on
              Schedule D. Moreover, although the Debtors have scheduled Claims of various creditors as
              secured Claims, the Debtors reserve all of their rights to dispute or challenge the secured
              nature of any such creditor’s Claim or the characterization of the structure of any such
              transaction or any document or instrument related to such creditor’s Claim. Further, while
              the Debtors have included the results of Uniform Commercial Code searches, the listing of
              such results is not, nor shall it be deemed, an admission as to the validity of any such lien.
              The descriptions provided in Schedule D are solely intended to be a summary and not an
              admission of liability. The Debtors have made reasonable, good faith efforts to include all
              known liens on Schedule D but may have inadvertently omitted to include an existing lien
              because of, among other things, the possibility that a lien may have been imposed after the
              Uniform Commercial Code searches were performed or a vendor may not have filed the
              requisite perfection documentation.

              Except as specifically stated on Schedule D, real property lessors, utility companies, and
              other parties that may hold security deposits have not been listed on Schedule D. The
              Debtors reserve all rights to amend Schedule D to the extent that the Debtors determine
              that any Claims associated with such agreements should be reported on Schedule D.

              Moreover, the Debtors have not included on Schedule D parties that may believe their
              Claims are secured through setoff rights or inchoate statutory lien rights.

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42.           SCHEDULE E/F — CREDITORS HOLDING UNSECURED CLAIMS. The Bankruptcy Court
              has authorized the Debtors, in their discretion, to pay certain liabilities that may be entitled
              to priority under the applicable provisions of the Bankruptcy Code. Further, on June 26,
              2024, the Bankruptcy Court entered the Final Order Authorizing Debtors to Pay
              Prepetition Wages, Compensation, and Employee Benefits [Docket No. 101], authorizing
              the Debtor to pay or honor certain prepetition obligations with respect to employee wages
              and other compensation, reimbursable employee expenses and similar benefits. Also on
              June 26, 2024, the Bankruptcy Court entered the Final Order (I) Authorizing Debtors to
              Pay Certain Prepetition Taxes and Related Obligations [Docket No. 98].

              The Debtors have used reasonable efforts to report all general unsecured Claims against
              the Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
              Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
              listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
              date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
              creditors for, among other things, goods or services are listed as either the lower of the
              amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
              records and may not reflect credits, rebates, or allowances due from such creditors to the
              Debtors. The Claims and amounts listed in respect of certain trade payables reflect
              amounts owed as of the Petition Date.

              The Debtors may pay additional Claims listed on Schedule E/F during the chapter 11 cases
              pursuant to orders of the Bankruptcy Court and reserve all rights to update Schedule E/F
              to reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
              to priority under section 503(b)(9) of the Bankruptcy Code.

              Schedule E/F also contains information regarding pending litigation involving the Debtors.
              The dollar amount of potential Claims associated with any such pending litigation is listed
              as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
              and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
              subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
              potential or threatened legal disputes that are not formally recognized by an administrative,
              judicial, or other adjudicative forum due to certain procedural conditions that
              counterparties have yet to satisfy.

43.           SCHEDULE G — EXECUTORY CONTRACTS AND UNEXPIRED LEASES. While reasonable
              efforts have been made to ensure the accuracy of Schedule G, the Debtors’ business is
              complex, and inadvertent errors, omissions, or overinclusion may have occurred. Each
              lease and contract listed in Schedule G may include one or more ancillary documents,
              including any underlying assignment and assumption agreements, amendments,
              supplements, full and partial assignments, renewals and partial releases, which may not be
              listed on Schedule G. Certain of the leases and contracts listed on Schedule G may contain
              certain renewal options, guarantees of payment, options to purchase, rights of first refusal,
              and other miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
              on Schedule G. In addition, the Debtors may have entered into various other types of
              agreements in the ordinary course of business, such as financing agreements, indemnity
              agreements, subordination, non-disturbance agreements, supplemental agreements,

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              amendments/letter agreements, title agreements, and confidentiality agreements. Such
              documents may not be set forth on Schedule G. Certain executory contracts may not have
              been memorialized in writing and could be subject to dispute.

              The Debtors reserve all rights to dispute the validity, status, or enforceability of any
              contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
              Schedule as necessary. Omission of a contract or agreement from Schedule G does not
              constitute an admission that such omitted contract or agreement is not an executory contract
              or unexpired lease. Likewise, inclusion of any agreement on Schedule G does not
              constitute an admission that such agreement is an executory contract or unexpired lease, or
              that such agreement was in effect on the Petition Date or is valid and enforceable, and the
              Debtors reserves all rights in that regard, including without limitation the right to assert
              that any agreement is not executory, has expired pursuant to its terms, is severable in whole
              or in part, or was terminated prepetition.

44.           SCHEDULE H — CO-DEBTORS. Although the Debtors have made every effort to ensure
              the accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have
              occurred. The Debtors hereby reserve all rights to dispute the validity, status, and
              enforceability of any obligations set forth on Schedule H and to further amend or
              supplement such Schedule as necessary.

              The Debtors further reserve all rights, claims, and causes of action with respect to the
              obligations listed on Schedule H, including the right to dispute or challenge the
              characterization or the structure of any transaction, document, or instrument related to a
              creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H
              shall not be deemed an admission that such obligation is binding, valid, or enforceable.

              In the ordinary course of its business, the Debtors are involved in pending or threatened
              litigation and claims arising out of the conduct of its business. These matters may involve
              multiple plaintiffs and defendants, some or all of whom may assert crossclaims and
              counterclaims against other parties. Because such claims are listed elsewhere in the
              Statements and Schedules, they may not have been set forth individually on Schedule H.

              Schedule H also reflects guarantees by the Debtors. The Debtors may not have identified
              certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
              debt instruments, and other such agreements. Thus, the Debtors reserve their right, but shall
              not be required, to amend the Schedules to the extent that additional guarantees are
              identified, or such guarantees are discovered to have expired or are unenforceable.

                        SPECIFIC DISCLOSURES APPLICABLE TO STATEMENTS

45.           QUESTION 3 AND 4. For certain creditors receiving payment, the Debtors maintain multiple
              addresses for such vendor. Efforts have been made to attribute the correct address, however,
              in certain instances, alternate addresses may be applicable for a party listed in response to
              Question 3.




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46.           QUESTION 3. Question 3 includes any disbursement or other transfer made by the Debtors
              except for those made to employees.

47.           QUESTION 4. For purposes of the Schedules and Statements, the Debtors define insiders as
              individuals that, based upon the totality of circumstances, have a controlling interest in, or
              exercise sufficient control over the Debtors so as to dictate corporate policy and the
              disposition of assets. The Debtors do not take any position with respect to (a) such person’s
              influence over the control of the Debtors; (b) the management responsibilities or functions
              of such individual; (c) the decision-making or corporate authority of such individual; or (d)
              whether such individual could successfully argue that he or she is not an “insider” under
              applicable law, including the federal securities law, or with respect to any theories of
              liability or any other purpose. As such, the Debtors reserve all rights to dispute whether
              someone identified in response to Question 4 is in fact an “insider” as defined in section
              101(31) of the Bankruptcy Code.

48.           QUESTION 7. The Debtors reserve all rights and defenses with respect to any and all listed
              lawsuits and administrative proceedings. The listing of any such suits and proceedings shall
              not constitute an admission by the Debtors of any liabilities or that the actions or
              proceedings were correctly filed against the Debtors. The Debtors also reserve their rights
              to assert that a Debtor is not an appropriate party to such actions or proceedings.

49.           QUESTION 10. The Debtors have made best efforts to collect applicable and responsive
              information, however, certain de minimis losses, which are not tracked separately, may
              have been omitted.

50.           QUESTION 26d. The Debtors have supplied financial statements and reports in the ordinary
              course of business to certain third parties under confidentiality agreements. Such third
              parties include restructuring professionals, and administrative agents under the Debtors’
              debt facilities.

51.           QUESTION 27. An outside inventory firm typically completes physical counts at a select
              group of retail pharmacy locations on a quarterly basis. Most of the retail pharmacy
              locations have had a physical inventory count completed either in (i) December 2023 or
              (ii) March 2024. There are a handful of compounding pharmacy locations (Enovex
              Pharmacy, Healthy Choice Compounding, and The Pet Apothecary) with typically smaller
              inventory levels than the traditional pharmacy retail locations, whereby physical inventory
              counts have not been completed in the last two (2) years.

52.           QUESTION 30. For this question, please reference Statement of Financial Affairs, Question
              4.




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 Fill in this information to identify the case:

 Debtor name: Healthy Choice Compounding LLC

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                                Check if this is an
 Case number: 24-11208
                                                                                                                                amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                             Undetermined
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                                       $595,063.00
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                                         $595,063.00
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                               $127,600,000.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                                     $0.00
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                           $79,359,116.02
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                            $206,959,116.02
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: Healthy Choice Compounding LLC

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 24-11208
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                       Cash in Register - Unknown

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
           Webster Bank                                                     Deposit Account              8186                                                     $61,425.00


 3.2
           Wintrust Bank                                                    Unused                       4854                                                           $0.00

 4. Other cash equivalents (Identify all)
 4.1
                                                                                                                                       None

 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                                 $61,425.00


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

       Yes. Fill in the information below.
Debtor     Healthy Choice Compounding LLC___________________________________________                   Case number (if known) 24-11208________________________________________
           Name
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                                                                                                                                             Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            Security Deposit - Landlord                                                                                                                                 $8,234.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Annual Dues - Alliance for Pharmacy Compounding                                                                                                              $667.00

  8.2
            Prepaid Rent - RM Property Services LLC                                                                                                                     $7,038.00

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                     $15,939.00


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                             Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                 $7,699.00       —                                        $0.00   = ........                                 $7,699.00
            less:
                                     face amount                               doubtful or uncollectible accounts

  11b.      Over 90 days old:                                              —                                                = ........                                     $0.00

                                     face amount                               doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                      $7,699.00


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.


                                                                                                Valuation method used for current            Current value of debtor’s interest
                                                                                                value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                            $0.00
Debtor     Healthy Choice Compounding LLC___________________________________________              Case number (if known) 24-11208________________________________________
           Name
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  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
                                                                                                                                                                      $0.00

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                      $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                     $0.00


  Part 5:       Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.


   General description                                        Date of       Net book value of             Valuation method used        Current value of debtor’s interest
                                                              the last      debtor's interest             for current value
                                                              physical      (Where available)
                                                              inventory
  19. Raw materials
  19.1
               Active & Mixing Ingredients for Compounding   No Third                $623,274.00        N/A                           Undetermined
                                                             Party
                                                             Physical
                                                             Inventory
                                                             Located

  20. Work in progress
  20.1
               None                                                                                                                                                   $0.00

  21. Finished goods, including goods held for resale
  21.1
               None                                                                                                                                                   $0.00

  22. Other inventory or supplies
  22.1
               None                                                                                                                                                   $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                       Undetermined


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                       Book value             $19,936.84          Valuation method   Book Value                            Current value                       $19,936.84
         Yes
Debtor     Healthy Choice Compounding LLC___________________________________________                Case number (if known) 24-11208________________________________________
           Name
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  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.

   General description                                                          Net book value of           Valuation method used       Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                       $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                       $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)

  30.1
                                                                                                                                                                       $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                       $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                       $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                      $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                   Book value                                       Valuation method                                       Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes
Debtor    Healthy Choice Compounding LLC___________________________________________                           Case number (if known) 24-11208________________________________________
          Name
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  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:    Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
            None                                                                                                                                                                            $0.00

  40. Office fixtures
  40.1
            None                                                                                                                                                                            $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software

  41.1
            PioneerRx Software                                                                      $5,538.90         N/A                               Undetermined

  41.2
            Prisco - Fridge for Lab                                                                   $416.53         N/A                               Undetermined

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
            None                                                                                                                                                                            $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                         Undetermined


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.
Debtor    Healthy Choice Compounding LLC___________________________________________                      Case number (if known) 24-11208________________________________________
          Name
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   General description                                                            Net book value of               Valuation method used          Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,              debtor's interest               for current value
   HIN, or N-number)                                                              (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  None                                                                                                                                                                             $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
  None                                                                                                                                                                             $0.00

  49. Aircraft and accessories
  49.1
  None                                                                                                                                                                             $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
  Leasehold Improvements                                                                     $14,365.00         N/A                             Undetermined

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                 Undetermined


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:    Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                           Nature and extent of            Net book value of              Valuation method used         Current value of
   Include street address or other description such as            debtor’s interest in            debtor's interest              for current value             debtor’s interest
   Assessor Parcel Number (APN), and type of property             property                        (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
            250 Clearbrook Rd, Elmsford, NY 10523                Leased                                            $0.00        None                           Undetermined

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                 Undetermined


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes
Debtor    Healthy Choice Compounding LLC___________________________________________                 Case number (if known) 24-11208________________________________________
          Name
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  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.


   General description                                                        Net book value of             Valuation method used        Current value of debtor’s interest
                                                                              debtor's interest             for current value
                                                                              (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
             None                                                                                                                                                       $0.00

  61. Internet domain names and websites
  61.1
             None                                                                                                                                                       $0.00

  62. Licenses, franchises, and royalties

  62.1
             Board of Pharmacy License - Connecticut                                           $0.00       None                          Undetermined


  62.2
             Board of Pharmacy License - New Jersey                                            $0.00       None                          Undetermined


  62.3
             Board of Pharmacy License - New York                                              $0.00       None                          Undetermined

  63. Customer lists, mailing lists, or other compilations
  63.1
             Customer List                                                                     $0.00       None                          Undetermined

  64. Other intangibles, or intellectual property
  64.1
             Acquired Intangible                                                        $540,900.00        N/A                           Undetermined

  65. Goodwill
  65.1
             Acquired Goodwill                                                        $6,599,641.00        N/A                           Undetermined

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          Undetermined


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes
Debtor    Healthy Choice Compounding LLC___________________________________________                   Case number (if known) 24-11208________________________________________
          Name
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  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
             None                                                                                                          =                                            $0.00
                                                                                         -
                                               total face amount                             doubtful or uncollectible
                                                                                             amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)

  72.1
             None                                                                                     Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
             None                                                                                                                                                        $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been filed)
  74.1
             Unknown                                                                                                                     Undetermined
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
                                                                                                                                                                         $0.00
  Nature of Claim
  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
             None                                                                                                                                                        $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             Intercompany Note Receivable from H&H Pharmacy (24-11197)                                                                                            $510,000.00

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                 $510,000.00


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes
Debtor    Healthy Choice Compounding LLC___________________________________________                 Case number (if known) 24-11208________________________________________
          Name
                                         Case 24-11188-TMH                    Doc 181        Filed 07/03/24             Page 24 of 40
  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                            Current value of             Current value of real
                                                                               personal property            property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                 $61,425.00


  81. Deposits and prepayments. Copy line 9, Part 2.                                     $15,939.00

  82. Accounts receivable. Copy line 12, Part 3.                                          $7,699.00


  83. Investments. Copy line 17, Part 4.                                                      $0.00

  84. Inventory. Copy line 23, Part 5.                                        Undetermined


  85. Farming and fishing-related assets. Copy line 33, Part 6.                               $0.00

  86. Office furniture, fixtures, and equipment; and collectibles. Copy       Undetermined
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                               $0.00


  88. Real property. Copy line 56, Part 9.                                                               Undetermined

  89. Intangibles and intellectual property.. Copy line 66, Part 10.          Undetermined


  90. All other assets. Copy line 78, Part 11.                                          $510,000.00

  91. Total. Add lines 80 through 90 for each column                   91a.                                             91b.
                                                                                      $595,063.00                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                              $595,063.00
                                        Case 24-11188-TMH                       Doc 181         Filed 07/03/24          Page 25 of 40

  Fill in this information to identify the case:

  Debtor name: Healthy Choice Compounding LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                           Check if this is an
  Case number: 24-11208
                                                                                                                                                           amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                             Column B
separately for each claim.
                                                                                                             Amount of Claim                      Value of collateral that
                                                                                                             Do not deduct the value of           supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                   $127,600,000.00       Undetermined
            Loan Admin Co LLC, as Collateral            the lien:
            Agent, 2200 Atlantic Street, Suite 501,     All assets
            Stamford, CT, 06902
                                                        Describe the lien
                                                        Credit Agreement
           Date debt was incurred?
           6/28/2019                                    Is the creditor an insider or related party?
           Last 4 digits of account number                 No

                                                           Yes
           Do multiple creditors have an interest
                                                        Is anyone else liable on this claim?
           in the same property?
                                                           No
               No
                                                           Yes. Fill out Schedule H: Codebtors(Official
               Yes. Specify each creditor, including
                                                       Form 206H)
          this creditor, and its relative priority.
                                                        As of the petition filing date, the claim is:
           Unknown
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $127,600,000.00
Page, if any.
Debtor   Healthy Choice Compounding LLC___________________________________________                Case number (if known) 24-11208________________________________________
         Name
                                     Case 24-11188-TMH                    Doc 181           Filed 07/03/24             Page 26 of 40
  Part 2:    List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1

            Loan Admin Co LLC, as Collateral Agent,c/o DLA Piper LLP,Attn: Stuart M.
            Brown & Matthew S. Sarna, 1201 North Market Street, Suite 2100,
            Wilmington, DE, 19801
                                       Case 24-11188-TMH                    Doc 181             Filed 07/03/24              Page 27 of 40

  Fill in this information to identify the case:

  Debtor name: Healthy Choice Compounding LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 24-11208
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:                                                         $0.00
                                                                         Check all that apply.
           Date or dates debt was incurred
                                                                              Contingent

                                                                              Unliquidated
           Last 4 digits of account number
                                                                              Disputed
           Specify Code subsection of PRIORITY unsecured                 Basis for the claim:
           claim:
           11 U.S.C. § 507(a) ( )
                                                                         Is the claim subject to offset?
                                                                             No

                                                                             Yes
Debtor   Healthy Choice Compounding LLC___________________________________________                       Case number (if known) 24-11208________________________________________
         Name
                                      Case 24-11188-TMH                         Doc 181            Filed 07/03/24                Page 28 of 40
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                             $75,965,870.00
            Aves Management LLC, 150 North Riverside Plaza, Suite 5200, Chicago,               Check all that apply.
            IL, 60606
                                                                                                    Contingent

            Date or dates debt was incurred                                                         Unliquidated
            09/25/2020
                                                                                                    Disputed

                                                                                               Basis for the claim:
                                                                                               Mezzanine Debt

                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  3.2
                                                                                               As of the petition filing date, the claim is:                                     $135.47
            Copy Stop/Royal Press, 95 Church St, White Plains, NY, 10601                       Check all that apply.
                                                                                                    Contingent
            Date or dates debt was incurred
            Various                                                                                 Unliquidated

                                                                                                    Disputed

                                                                                               Basis for the claim:
                                                                                               Trade Vendor
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  3.3
                                                                                               As of the petition filing date, the claim is:                                     $432.42
            FDS Inc - 2518, P.O. Box 201231, Dallas, TX, 75320-1231                            Check all that apply.
                                                                                                    Contingent
            Date or dates debt was incurred
            Various                                                                                 Unliquidated

                                                                                                    Disputed
                                                                                               Basis for the claim:
                                                                                               Trade Vendor
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   Healthy Choice Compounding LLC___________________________________________            Case number (if known) 24-11208________________________________________
         Name
                                    Case 24-11188-TMH                     Doc 181      Filed 07/03/24                 Page 29 of 40

  3.4
                                                                                    As of the petition filing date, the claim is:                            $717.87
           HCT, Suite 700 PO Box 986525, Boston, MA, 02298-6525                     Check all that apply.
                                                                                        Contingent
           Date or dates debt was incurred
           Various                                                                      Unliquidated

                                                                                        Disputed
                                                                                    Basis for the claim:
                                                                                    Trade Vendor

                                                                                    Is the claim subject to offset?
                                                                                       No

                                                                                       Yes

  3.5
                                                                                    As of the petition filing date, the claim is:                            $209.19
           Letco Medical LLC - 0744, 17199 North Laurel Park Drive, Livonia, MI,    Check all that apply.
           48152
                                                                                        Contingent

           Date or dates debt was incurred                                              Unliquidated
           Various
                                                                                        Disputed

                                                                                    Basis for the claim:
                                                                                    Trade Vendor
                                                                                    Is the claim subject to offset?
                                                                                       No

                                                                                       Yes

  3.6
                                                                                    As of the petition filing date, the claim is:                             $33.00
           Medisca - IKES91N, PO Box 2592, Plattsburgh, NY, 12901                   Check all that apply.
                                                                                        Contingent
           Date or dates debt was incurred
           Various                                                                      Unliquidated

                                                                                        Disputed
                                                                                    Basis for the claim:
                                                                                    Trade Vendor
                                                                                    Is the claim subject to offset?
                                                                                       No

                                                                                       Yes

  3.7
                                                                                    As of the petition filing date, the claim is:                       $673,811.00
           Optio Rx, LLC, 3701 Commercial Avenue, Suite 14, Northbrook, IL, 60062   Check all that apply.
                                                                                        Contingent
           Date or dates debt was incurred
           Various                                                                      Unliquidated

                                                                                        Disputed
                                                                                    Basis for the claim:
                                                                                    Intercompany Payable

                                                                                    Is the claim subject to offset?
                                                                                       No

                                                                                       Yes
Debtor   Healthy Choice Compounding LLC___________________________________________           Case number (if known) 24-11208________________________________________
         Name
                                   Case 24-11188-TMH                   Doc 181        Filed 07/03/24                 Page 30 of 40

  3.8
                                                                                   As of the petition filing date, the claim is:                          $1,341.86
           PCCA - Professional Compounding Centers of America, PO Box 734687,      Check all that apply.
           Dallas, TX, 75373-4687
                                                                                       Contingent

           Date or dates debt was incurred                                             Unliquidated
           Various
                                                                                       Disputed

                                                                                   Basis for the claim:
                                                                                   Trade Vendor

                                                                                   Is the claim subject to offset?
                                                                                      No

                                                                                      Yes

  3.9
                                                                                   As of the petition filing date, the claim is:                      $2,691,387.21
           PIA Holdings, Inc. , 150 W End Ave, APT 24L, New York, NY, 10023-5748   Check all that apply.
                                                                                       Contingent
           Date or dates debt was incurred
           09/01/2020                                                                  Unliquidated

                                                                                       Disputed
                                                                                   Basis for the claim:
                                                                                   Seller Note

                                                                                   Is the claim subject to offset?
                                                                                      No

                                                                                      Yes


  3.10
                                                                                   As of the petition filing date, the claim is:                         $25,178.00
           SBH Medical, Ltd., 7654 Crosswoods Drive, Columbus, Oh, 43235           Check all that apply.
                                                                                       Contingent
           Date or dates debt was incurred
           Various                                                                     Unliquidated

                                                                                       Disputed

                                                                                   Basis for the claim:
                                                                                   Intercompany Payable
                                                                                   Is the claim subject to offset?
                                                                                      No

                                                                                      Yes
Debtor   Healthy Choice Compounding LLC___________________________________________                       Case number (if known) 24-11208________________________________________
         Name
                                        Case 24-11188-TMH                     Doc 181            Filed 07/03/24              Page 31 of 40
  Part 3:   List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line
            Pia Holdings Inc - 1099-Int Only, 8973 Lakes Blvd, , West Palm Beach, FL            8
            33412-1553
                                                                                                       Not listed. Explain




  4.2
                                                                                                Line
            PIA Holdings, Inc., 250 Clearbrook Road, , Elmsford, NY 10523                       8

                                                                                                       Not listed. Explain




  4.3
                                                                                                Line
            PIA Holdings, Inc., Attn: Phil Altman, 8973 Lakes Blvd, West Palm Beach,            8
            FL 33412
                                                                                                       Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                                         5a.                                     $0.00

  5b. Total claims from Part 2                                                                                                         5b.                           $79,359,116.02

  5c. Total of Parts 1 and 2                                                                                                           5c.
                                                                                                                                                                    $79,359,116.02
  Lines 5a + 5b = 5c.
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  Fill in this information to identify the case:

  Debtor name: Healthy Choice Compounding LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 24-11208
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        Lease Agreement
        or lease is for and the                                                           Mack-Cali CW Realty Associates LLC 100 Clearbrook Road Elmsford, NY 10523
        nature of the debtor’s
        interest
        State the term                 24 Months
        remaining
        List the contract number
        of any government
        contract
                                       Case 24-11188-TMH                        Doc 181             Filed 07/03/24                Page 33 of 40

  Fill in this information to identify the case:

  Debtor name: Healthy Choice Compounding LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 24-11208
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
HCP Pharmacy LLC                                                                                   Loan Admin Co LLC - Collateral Agent                                    D
                                  311 South Wacker Drive Suite 2640 Chicago, Illinois
                                  60606                                                                                                                                    E/F

                                                                                                                                                                           G


2.2
H&H Pharmacy LLC                                                                                   Loan Admin Co LLC - Collateral Agent                                    D
                                  7640 Tampa Avenue Suite E Reseda, California 91335
                                                                                                                                                                           E/F

                                                                                                                                                                           G

2.3
FirstCare Pharmacy LLC                                                                             Loan Admin Co LLC - Collateral Agent                                    D
                                  18555 Ventura Boulevard Suite A Tarzana, California
                                  91356                                                                                                                                    E/F

                                                                                                                                                                           G

2.4
Enovex Pharmacy LLC                                                                                Loan Admin Co LLC - Collateral Agent                                    D
                                  1111 North Brand Boulevard Unit M Glendale,
                                  California 91202                                                                                                                         E/F

                                                                                                                                                                           G
Debtor   Healthy Choice Compounding LLC___________________________________________          Case number (if known) 24-11208________________________________________
         Name
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  2.5
  EasyCare Pharmacy LLC                                                              Loan Admin Co LLC - Collateral Agent                         D
                             7320 Woodlake Avenue Suite 100 West Hills, California
                             91307                                                                                                                E/F

                                                                                                                                                  G

  2.6
  Dr. Ike’s PharmaCare LLC                                                           Loan Admin Co LLC - Collateral Agent                         D
                             1111 North Brand Boulevard Suite 101 Glendale,
                             California 91202                                                                                                     E/F

                                                                                                                                                  G

  2.7
  Crestview Pharmacy, LLC                                                            Loan Admin Co LLC - Collateral Agent                         D
                             1116 North Ferdon Boulevard Okaloosa County, Florida
                             32536                                                                                                                E/F

                                                                                                                                                  G

  2.8
  Crestview Holdings, LLC                                                            Loan Admin Co LLC - Collateral Agent                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                                E/F

                                                                                                                                                  G


  2.9
  Concierge Pharmacy LLC                                                             Loan Admin Co LLC - Collateral Agent                         D
                             23215 Hawthorne Boulevard Suite B Torrance,
                             California                                                                                                           E/F

                                                                                                                                                  G

  2.10
  Central Pharmacy, LLC                                                              Loan Admin Co LLC - Collateral Agent                         D
                             121 Kent Avenue Brooklyn, New York 11249
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.11
  Braun Pharma, LLC                                                                  Loan Admin Co LLC - Collateral Agent                         D
                             1919 North Clybourn Avenue Chicago, Illinois 60614
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.12
  Baybridge Pharmacy, LLC                                                            Loan Admin Co LLC - Collateral Agent                         D
                             20848 Cross Island Parkway Bayside, New York 11360
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.13
  Optio Rx, LLC                                                                      Loan Admin Co LLC - Collateral Agent                         D
                             3701 Commercial Avenue, Suite 14, Northbrook, IL
                             60062                                                                                                                E/F

                                                                                                                                                  G
Debtor   Healthy Choice Compounding LLC___________________________________________          Case number (if known) 24-11208________________________________________
         Name
                                 Case 24-11188-TMH                    Doc 181         Filed 07/03/24            Page 35 of 40

  2.14
  Healthy Choice                                                                     Loan Admin Co LLC - Collateral Agent                         D
  Compounding LLC            250 Clearbrook Road Elmsford, New York 10523
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.15
  Oakdell Compounding                                                                Loan Admin Co LLC - Collateral Agent                         D
  Pharmacy, LLC              7220 Louis Pasteur Dr Ste 168 San Antonio TX, 78229
                                                                                                                                                  E/F

                                                                                                                                                  G


  2.16
  Pet Apothecary, LLC                                                                Loan Admin Co LLC - Collateral Agent                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                                E/F

                                                                                                                                                  G

  2.17
  PrimeCare Pharmacy, LLC                                                            Loan Admin Co LLC - Collateral Agent                         D
                             32144 Agoura Road Suite 101 Westlake Village,
                             California 91361                                                                                                     E/F

                                                                                                                                                  G

  2.18
  Pro Pharmacy, LLC                                                                  Loan Admin Co LLC - Collateral Agent                         D
                             71 East Old Country Road Hicksville, New York 11801
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.19
  Rose Pharmacy RM LLC                                                               Loan Admin Co LLC - Collateral Agent                         D
                             35400 Bob Hope Drive Suite 207 Ranch Mirage,
                             California 92270                                                                                                     E/F

                                                                                                                                                  G


  2.20
  Rose Pharmacy SA LLC                                                               Loan Admin Co LLC - Collateral Agent                         D
                             1220 West Hemlock Way #110 Santa Ana, California
                             92707                                                                                                                E/F

                                                                                                                                                  G

  2.21
  Rose Pharmacy SF LLC                                                               Loan Admin Co LLC - Collateral Agent                         D
                             125 McCann Drive Santa Fe Springs, California 90670
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.22
  SBH Medical LLC                                                                    Loan Admin Co LLC - Collateral Agent                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                                E/F

                                                                                                                                                  G
Debtor   Healthy Choice Compounding LLC___________________________________________          Case number (if known) 24-11208________________________________________
         Name
                                 Case 24-11188-TMH                    Doc 181         Filed 07/03/24            Page 36 of 40

  2.23
  SBH Medical, Ltd.                                                                  Loan Admin Co LLC - Collateral Agent                         D
                             7654 Crosswoods Dr Columbus, OH 43235
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.24
  SMC Lyons Holdings LLC                                                             Loan Admin Co LLC - Collateral Agent                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                                E/F

                                                                                                                                                  G

  2.25
  SMC Pharmacy LLC                                                                   Loan Admin Co LLC - Collateral Agent                         D
                             1908 Santa Monica Boulevard Suite 4 Santa Monica,
                             California 90404                                                                                                     E/F

                                                                                                                                                  G

  2.26
  The Pet Apothecary, LLC                                                            Loan Admin Co LLC - Collateral Agent                         D
                             407 West Silver Spring Drive Milwaukee, Wisconsin
                             53217                                                                                                                E/F

                                                                                                                                                  G

  2.27
  HCP Pharmacy LLC                                                                   Aves Management LLC                                          D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                                E/F

                                                                                                                                                  G

  2.28
  H&H Pharmacy LLC                                                                   Aves Management LLC                                          D
                             7640 Tampa Avenue Suite E Reseda, California 91335
                                                                                                                                                  E/F

                                                                                                                                                  G

  2.29
  FirstCare Pharmacy LLC                                                             Aves Management LLC                                          D
                             18555 Ventura Boulevard Suite A Tarzana, California
                             91356                                                                                                                E/F

                                                                                                                                                  G

  2.30
  Enovex Pharmacy LLC                                                                Aves Management LLC                                          D
                             1111 North Brand Boulevard Unit M Glendale,
                             California 91202                                                                                                     E/F

                                                                                                                                                  G

  2.31
  EasyCare Pharmacy LLC                                                              Aves Management LLC                                          D
                             7320 Woodlake Avenue Suite 100 West Hills, California
                             91307                                                                                                                E/F

                                                                                                                                                  G
Debtor   Healthy Choice Compounding LLC___________________________________________         Case number (if known) 24-11208________________________________________
         Name
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  2.32
  Dr. Ike’s PharmaCare LLC                                                           Aves Management LLC                                         D
                             1111 North Brand Boulevard Suite 101 Glendale,
                             California 91202                                                                                                    E/F

                                                                                                                                                 G

  2.33
  Crestview Pharmacy, LLC                                                            Aves Management LLC                                         D
                             1116 North Ferdon Boulevard Okaloosa County, Florida
                             32536                                                                                                               E/F

                                                                                                                                                 G

  2.34
  Crestview Holdings, LLC                                                            Aves Management LLC                                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                               E/F

                                                                                                                                                 G

  2.35
  Concierge Pharmacy LLC                                                             Aves Management LLC                                         D
                             23215 Hawthorne Boulevard Suite B Torrance,
                             California                                                                                                          E/F

                                                                                                                                                 G

  2.36
  Central Pharmacy, LLC                                                              Aves Management LLC                                         D
                             121 Kent Avenue Brooklyn, New York 11249
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.37
  Braun Pharma, LLC                                                                  Aves Management LLC                                         D
                             1919 North Clybourn Avenue Chicago, Illinois 60614
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.38
  Baybridge Pharmacy, LLC                                                            Aves Management LLC                                         D
                             20848 Cross Island Parkway Bayside, New York 11360
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.39
  Optio Rx, LLC                                                                      Aves Management LLC                                         D
                             3701 Commercial Avenue, Suite 14, Northbrook, IL
                             60062                                                                                                               E/F

                                                                                                                                                 G

  2.40
  Healthy Choice                                                                     Aves Management LLC                                         D
  Compounding LLC            250 Clearbrook Road Elmsford, New York 10523
                                                                                                                                                 E/F

                                                                                                                                                 G
Debtor   Healthy Choice Compounding LLC___________________________________________         Case number (if known) 24-11208________________________________________
         Name
                                 Case 24-11188-TMH                    Doc 181         Filed 07/03/24           Page 38 of 40

  2.41
  Oakdell Compounding                                                                Aves Management LLC                                         D
  Pharmacy, LLC              7220 Louis Pasteur Dr Ste 168 San Antonio TX, 78229
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.42
  Pet Apothecary, LLC                                                                Aves Management LLC                                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                               E/F

                                                                                                                                                 G

  2.43
  PrimeCare Pharmacy, LLC                                                            Aves Management LLC                                         D
                             32144 Agoura Road Suite 101 Westlake Village,
                             California 91361                                                                                                    E/F

                                                                                                                                                 G

  2.44
  Pro Pharmacy, LLC                                                                  Aves Management LLC                                         D
                             71 East Old Country Road Hicksville, New York 11801
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.45
  Rose Pharmacy RM LLC                                                               Aves Management LLC                                         D
                             35400 Bob Hope Drive Suite 207 Ranch Mirage,
                             California 92270                                                                                                    E/F

                                                                                                                                                 G

  2.46
  Rose Pharmacy SA LLC                                                               Aves Management LLC                                         D
                             1220 West Hemlock Way #110 Santa Ana, California
                             92707                                                                                                               E/F

                                                                                                                                                 G


  2.47
  Rose Pharmacy SF LLC                                                               Aves Management LLC                                         D
                             125 McCann Drive Santa Fe Springs, California 90670
                                                                                                                                                 E/F

                                                                                                                                                 G

  2.48
  SBH Medical LLC                                                                    Aves Management LLC                                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                               E/F

                                                                                                                                                 G

  2.49
  SBH Medical, Ltd.                                                                  Aves Management LLC                                         D
                             7654 Crosswoods Dr Columbus, OH 43235
                                                                                                                                                 E/F

                                                                                                                                                 G
Debtor   Healthy Choice Compounding LLC___________________________________________         Case number (if known) 24-11208________________________________________
         Name
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  2.50
  SMC Lyons Holdings LLC                                                             Aves Management LLC                                         D
                             311 South Wacker Drive Suite 2640 Chicago, Illinois
                             60606                                                                                                               E/F

                                                                                                                                                 G


  2.51
  SMC Pharmacy LLC                                                                   Aves Management LLC                                         D
                             1908 Santa Monica Boulevard Suite 4 Santa Monica,
                             California 90404                                                                                                    E/F

                                                                                                                                                 G


  2.52
  The Pet Apothecary, LLC                                                            Aves Management LLC                                         D
                             407 West Silver Spring Drive Milwaukee, Wisconsin
                             53217                                                                                                               E/F

                                                                                                                                                 G

  2.53
  EasyCare Pharmacy LLC                                                              Anda Inc                                                    D
                             7320 Woodlake Avenue Suite 100 West Hills, California
                             91307                                                                                                               E/F

                                                                                                                                                 G

  2.54
  Concierge Pharmacy LLC                                                             Anda Inc                                                    D
                             23215 Hawthorne Boulevard Suite B Torrance,
                             California                                                                                                          E/F

                                                                                                                                                 G


  2.55
  FirstCare Pharmacy LLC                                                             Anda Inc                                                    D
                             18555 Ventura Boulevard Suite A Tarzana, California
                             91356                                                                                                               E/F

                                                                                                                                                 G
                                    Case 24-11188-TMH                        Doc 181     Filed 07/03/24             Page 40 of 40

  Fill in this information to identify the case:

  Debtor name: Healthy Choice Compounding LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 24-11208
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

7/3/2024                                                                               /s/ Leo LaFranco

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Leo LaFranco

                                                                                       Printed name
                                                                                       Chief Financial Officer

                                                                                       Position or relationship to debtor
